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                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MAINE




 JEFFREY R. MABEE and
 JUDITH B. GRACE, individuals,
 residents of Belfast, Waldo County,
 Maine,
                       Plaintiffs,                  DOCKET NO. 1:19-

 vv..

 JANET ECKROTE and RICHARD
 ECKROTE, individuals, residents of
 Lincoln Park, New Jersey,
                    Defendants.



                               COMPLAINT
                        AND DEMAND FOR JURY TRIAL

        The Plaintiffs, JEFFREY R. MABEE, and JUDITH B. GRACE ("Plaintiffs"), by
                                                              (“Plaintiffs”), by

and through their counsel, Dana F. Strout, P.A., and Kimberly J. Ervin Tucker, Esq., for

their Complaint for slander of title against the Defendants, JANET and RICHARD

ECKROTE (“Eckrotes”, "Defendants"
ECKROTE ("Eckrotes", “Defendants” or
                                  or "Eckrote
                                     “Eckrote Defendants"),
                                              Defendants”), state and allege as

follows:

                                           PARTIES

1.      Plaintiffs Jeffrey R. Mabee and Judith B. Grace are residents of and domiciled in

        the City of Belfast, Waldo County, Maine.

2.      Janet Eckrote and Richard Eckrote are residents of and domiciled in Lincoln Park,

        New Jersey.




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                              JURISDICTION AND VENUE

3.   This Court has jurisdiction over the Plaintiffs'
                                          Plaintiffs’ claims pursuant to 28 U.S.C.

     §1332 because: (a) there is complete diversity of citizenship between Plaintiffs

     and Defendants; and (b) the amount in controversy exceeds $75,000.00.

4.   Venue is proper in this Court pursuant to 28 U.S.C. §1391 because: (a) the

     Plaintiffs are residents of Maine; (b) the actions complained of herein occurred

     and are occurring in the State of Maine; and (c) involve both the
                                                      involve both the Plaintiffs'
                                                                       Plaintiffs’ and

     Defendants’ properties
     Defendants' properties that are located in Waldo County, Maine.

                      FACTS COMMON TO ALL CLAIMS

5.   Plaintiffs are natural persons and the owners of real property located in Belfast,

     Waldo County, Maine, known as "Little
                          known as “Little River Center",
                                                 Center”, located at 290 Northport

                             or Belfast
     Avenue, Belfast, Maine, or Belfast Tax
                                        Tax Map
                                            Map 29,
                                                29, Lot 38. Plaintiffs'
                                                    Lot 38. Plaintiffs’ property
                                                                        property is
                                                                                 is

     more particularly described in a Warranty deed from Heather 0.
                                                                 O. Smith to the

     Plaintiffs, as joint tenants, dated May 31, 1991, recorded in the Waldo County

     Registry of Deeds, at Book 1221, Page 347, as set forth in Exhibit A attached

     hereto and incorporated herein.

6.   Plaintiffs’ land
     Plaintiffs' land includes
                      includes the
                               the upland
                                   upland and
                                          and structures
                                              structures on
                                                         on Belfast
                                                            Belfast Tax
                                                                    Tax Map
                                                                        Map 29,
                                                                            29, Lot 38,
                                                                                Lot 38,

     and the intertidal land on which Lots 38, 37, 36 and most of Lot 35 front. See,

     Sketch below:




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               '>y,rtn_r
                     i _v33<
                          ')K`

                                                                                     35

     This sketch is based on Page 29 of
     the Belfast Tax Maps and is annotated
     to show the relative position of the                                                    `2,),
     various properties situated northeast                                             Morgan
     of Little River on Penobscot Bay.                                                1804-30'
                                                                36

                                                                 &rote
                                                                 3697 - 5
                                                      285.,
                                                                            286




     t                                       37
                                       They
                                     1303 -184

                          38
               Mabee CC Grace
                 1221 - 347
                                                                                                11



7.       Plaintiffs are husband and wife and have owned the subject property in fee simple

         as joint tenants since May 31, 1991.

8.       Janet Eckrote and Richard Eckrote are natural persons, residents of Lincoln Park,

         New Jersey, and are the owners of a certain piece or parcel of land located at

         Belfast Tax Map Page 29, Lot 36, or 282 Northport Avenue, Belfast, Waldo

         County, Maine (WORD
                       (WCRD Book 3967, Page 5; Exhibit C-4).

9.                                                                 slandered the
         As will be described in this Complaint, the Eckrotes have slandered the Plaintiffs’
                                                                                 Plaintiffs'

         title to
         title to their
                  their property
                        property by
                                 by publishing
                                    publishing false statements regarding
                                               false statements regarding the
                                                                          the Defendants'
                                                                              Defendants’

         alleged ownership of intertidal land actually owned in fee simple by the Plaintiffs

                                                  3
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      and by actively aiding and abetting Nordic Aquafarms, Inc., a Delaware-

                 corporation ("NAF")
      registered corporation (“NAF”) in
                                     in falsely alleging an
                                        falsely alleging an ownership
                                                            ownership interest
                                                                      interest in the
                                                                               in the

      Plaintiffs’ intertidal
      Plaintiffs' intertidal lands
                             lands in
                                   in order
                                      order to
                                            to seek
                                               seek and
                                                    and obtain
                                                        obtain leases and permits
                                                               leases and permits from
                                                                                  from

      various local, State and federal administrative agencies and boards.

10.   Initially, a cloud was placed on Plaintiffs' title without
                                       Plaintiffs’ title without specific
                                                                 specific notice
                                                                          notice to
                                                                                 to

      Plaintiffs, on October 15, 2012, when a deed from the Estate of Phyllis J. Poor to

      Janet and Richard Eckrote was drafted and recorded in the Waldo County

      Registry of Deeds (WCRD at Book 3697, Page 5; Exhibit C-4). That Deed

      contained an erroneous legal description of the Eckrotes’ waterside boundary
                                                      Eckrotes' waterside

      which improperly attempted to extend the Eckrotes’
                                               Eckrotes' property by altering the

                                                          “along high-water mark of
      property description of the waterside boundary from "along

      Penobscot Bay"
      Penobscot Bay” to "along
                        “along said
                               said Bay."
                                    Bay.” This change in the description language

      erroneously suggests that the waterside boundary of the land being conveyed to

      the Eckrotes extends to the low water mark, rather than the property terminating

      at the high water mark.

11.   Whether this erroneous description was intentionally inserted in the deed to create

      a color of title in the Eckrotes to land owned by the Plaintiffs in fee simple, or

      was inserted as the consequence of gross negligence by the individual drafting

      and recording
      and recording this
                    this instrument,
                         instrument, this
                                     this instrument
                                          instrument clouded
                                                     clouded the
                                                             the Plaintiffs'
                                                                 Plaintiffs’ title
                                                                             title (without
                                                                                   (without

      providing them specific notice).

12.   This erroneous description has been exploited by the Eckrotes and their agents to

      publish false statements regarding Plaintiffs' ownership of
                                         Plaintiffs’ ownership of the
                                                                  the intertidal
                                                                      intertidal land
                                                                                 land on
                                                                                      on


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      which the
      which the Eckrotes’ lot fronts,
                Eckrotes' lot         aid and
                              fronts, aid and abet NAF in publishing false statements

      regarding Plaintiffs'
      regarding Plaintiffs’ ownership
                            ownership of
                                      of the
                                         the intertidal
                                             intertidal land
                                                        land on
                                                             on which
                                                                which the
                                                                      the Eckrotes’ lot
                                                                          Eckrotes' lot

      fronts, and to
      fronts, and to slander
                     slander Plaintiffs'
                             Plaintiffs’ title.
                                         title.

13.   Contrary to the legal description appearing in this October 15, 2012 deed, the

                                    in the
      deed description in all deeds in the Eckrotes'
                                           Eckrotes’ chain
                                                     chain of
                                                           of title,
                                                              title, dating
                                                                     dating back
                                                                            back to
                                                                                 to January
                                                                                    January

                and in
      25, 1946, and    particular the
                    in particular the deed
                                      deed to
                                           to the
                                              the Eckrotes’ predecessor in
                                                  Eckrotes' predecessor in interest,
                                                                           interest,

      Phyllis R. Poor (Janet Eckrotes’ mother) state
                             Eckrotes' mother) state that
                                                     that the
                                                          the Eckrotes’ waterside
                                                              Eckrotes' waterside

                  “to an iron pin in the mouth of a brook; thence Easterly and
      boundary is "to

                                     of Penobscot Bay for 410 feet more or less to a
      Northeasterly along high water of

      stake at the outlet of a gully".
                               gully”. (See, Exhibits C-1, C-2 and C-3).

14.   The words "along
      The words “along high-water
                       high-water mark of Penobscot Bay" are words of exclusion that
                                                    Bay” are

      mean the waterside boundary terminates at the high water mark and does not

      include conveyance of any ownership in the intertidal property (i.e. the land

      between high and low water marks).

15.   Under Maine
      Under Maine case
                  case law,
                       law, the
                            the phrase
                                phrase "along
                                       “along said
                                              said Bay"
                                                   Bay” is
                                                        is considered
                                                           considered words
                                                                      words of
                                                                            of

      inclusion that suggest the intertidal land between high and low water marks

      (which is owned by the Plaintiffs) are conveyed to the Grantee (here, the

      Eckrotes).

16.   Copies of the relevant deeds in the Eckrote chain of title are attached hereto as

      Exhibits C-1 through C-4 and are incorporated herein by this reference. Exhibits

      C-1, C-2 and C-3 (Exhibit C-4, the deed to the Eckrotes is referenced above) all

      state in relevant part as follows:


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      a.     The January 25, 1946 Warranty deed from Harriet L. Hartley-to-
             Fred R. Poor deed (WCRD Book 452, Page 205) states that the
             waterside boundary
             waterside  boundary is    “to an iron pin in the mouth of a brook;
                                   is "to
             thence Easterly and Northeasterly along high water of    of Penobscot
             Bay for 410 feet more or less to a stake at the outlet of a gully" (i.e.
                                                                         gully” (i.e.
             words of exclusion under Maine case law that grant no ownership in
             the intertidal land to the Grantee and retain ownership in the
             severed intertidal land in the Grantor) (Exhibit C-1);
      b.     The July 28, 1971 Warranty deed from Frederic R. Poor-to-William
             O. and Phyllis J. Poor (WCRD Book 691, Page 44) states that the
             0.
                                    “along high-water of
             waterside boundary is "along               of Penobscot Bay"
                                                                      Bay” (i.e.
             repeating the same words of exclusion and reiterating that the
             Grantees have no ownership in the intertidal land on which this lot
             fronts) (Exhibit C-2);
      c.     The July 1, 1991 Quitclaim Deed from William 0.    O. Poor-to-Phyllis
             J. Poor (WCRD Book 1228, Page 346) states that the waterside
             boundary is
             boundary     “along high-water of
                       is "along               of Penobscot Bay"
                                                              Bay” (i.e. repeating
             the same words of exclusion and reiterating that the Grantee has no
             ownership in the intertidal land on which this lot fronts) (Exhibit C-
             3).
17.   By including words of exclusion in the January 25, 1946 deed to Fred R. Poor,

                         – who continued to own the adjacent parcel to the South
      Harriet L. Hartley —

                                                                   – retained
      (currently designated as Belfast Tax Map 29, Lots 37 and 38) —

      ownership of the intertidal land in front of the land conveyed to Fred R. Poor, as

      well as the intertidal land of her own parcel.

18.   Consistent with the legal description contained in these deeds, a survey

      commissioned by the Eckrotes andfor
                                       for their benefit with Good Deeds surveying

      company dated August 31, 2012, was incorporated into the October 15, 2012

      deed to them and allegedly provided the basis for the description in the Deed.

      The August 31, 2012 Good Deeds survey stated that the waterside boundary of

      the Eckrotes’
      the Eckrotes' lot is "along
                    lot is “along high
                                  high water"
                                       water” —
                                              – consistent with all prior deeds back to

      January 25, 1946. (Attached as Exhibit B and incorporated herein).

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19.   Pursuant to controlling Maine case law, a survey incorporated by reference in a

      deed supersedes contrary words in a deed description.

20.   However, despite the unambiguous language in all prior deeds dating back to

                       that the
      January 25, 1946 that the waterside
                                waterside boundary
                                          boundary is
                                                   is "along
                                                      “along high-water
                                                             high-water mark of

      Penobscot Bay"
      Penobscot Bay” (Exhibits C-1 to C-3), and the plain and unambiguous statement

      on the
      on the August
             August 31,
                    31, 2012
                        2012 survey
                             survey that
                                    that the
                                         the waterside
                                             waterside boundary
                                                       boundary is
                                                                is "along
                                                                   “along high
                                                                          high water"
                                                                               water”

      (Exhibit B), the legal description to the October 15, 2012 deed erroneously states

      that the
      that the waterside
               waterside boundary
                         boundary of
                                  of this
                                     this lot
                                          lot is
                                              is "along
                                                 “along said
                                                        said Bay"
                                                             Bay” (Exhibit C-4).

21.   The Estate of Phyllis J. Poor had no legal ability to confer title to intertidal land

      that Phyllis J. Poor did not own in life, as neither Ms. Poor nor her predecessors

      in interest dating back to the January 25, 1946, owned down to the low water

      mark as evidenced by the plain and unambiguous language in the relevant deeds.

22.   Even though the erroneous legal description in the October 15,2012 deed is

      superseded by the survey description contained in the August 31, 2012 survey

      that was incorporated by reference into the deed, because the Eckrotes failed and

      subsequently have refused to record the August 31, 2012 Good Deeds survey in

      the Waldo County Registry of Deeds, the erroneous legal description in the

                            has created
      October 15, 2012 deed has created aa cloud
                                           cloud on
                                                 on Plaintiffs'
                                                    Plaintiffs’ title
                                                                title that
                                                                      that continues
                                                                           continues to
                                                                                     to this
                                                                                        this

      day.

23.   The
      The Eckrotes, the Eckrotes’
          Eckrotes, the           surveyor, and their attorneys all knew or should have
                        Eckrotes' surveyor,

      known, no later
      known, no later than
                      than August
                           August 31,
                                  31, 2012
                                      2012 that
                                           that the
                                                the Eckrotes'
                                                    Eckrotes’ waterside
                                                              waterside boundary
                                                                        boundary

      terminates at the high water mark of this lot and that neither the Eckrotes nor their


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      predecessors in interest back to January 25, 1946, have ever owned the intertidal

      land on which
      land on which the
                    the Eckrotes’
                        Eckrotes' lot
                                  lot fronts.
                                      fronts.

24.   As a result of this intentional concealment by the Eckrote Defendants of the

      unrecorded August 31, 2012 Good Deeds survey, Defendants intentionally aided

                                          of title,
      NAF in making repeated false claims of title, right
                                                    right or
                                                          or interest
                                                             interest in Plaintiffs’
                                                                      in Plaintiffs'

      intertidal land at public hearings, the press and in multiple filings to local, State

                                         in NAF's
      and federal permitting authorities in NAF’s efforts to obtain
                                                  efforts to obtain permits
                                                                    permits related
                                                                            related to
                                                                                    to the
                                                                                       the

      construction and operation of its commercial fish farm in Belfast, Maine.

25.   Plaintiffs first learned of the error in the October 15, 2012 deed in April of 2019.

26.   In an effort to protect their ownership of their intertidal property, Plaintiffs filed

      objections to
      objections to NAF's
                    NAF’s claim
                          claim of
                                of "sufficient"
                                   “sufficient” title,
                                                title, right or interest
                                                       right or interest in
                                                                         in all
                                                                            all upland
                                                                                upland land
                                                                                       land

      required to obtain a submerged lands lease for its pipelines to be sited in

      Penobscot Bay from the Maine Bureau of Parks and Lands and to obtain other

      permits from local, State and federal permitting agencies and Boards.

27.   Specifically, Plaintiffs advised these administrative agencies and boards, the

      Eckrote Defendants (through counsel of record), and NAF (through counsel of

                                   – not the Eckrotes —
      record), that the Plaintiffs —                  – are the fee simple owners of the

      intertidal land
      intertidal land on
                      on which
                         which the
                               the Eckrotes'
                                   Eckrotes’ lot
                                             lot fronts,
                                                 fronts, submitting voluminous evidence

      in support
      in support of
                 of Plaintiffs'
                    Plaintiffs’ ownership
                                ownership rights to all
                                          rights to all of
                                                        of the
                                                           the above.
                                                               above.

28.   Notwithstanding such notice, the Defendants have continued to assert, publish

                               theory and
      and advance a fallacious theory and claim
                                          claim of
                                                of ownership
                                                   ownership to
                                                             to the
                                                                the Plaintiffs'
                                                                    Plaintiffs’ intertidal
                                                                                intertidal




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           and/or have
      land and/or have supported
                       supported NAF's
                                 NAF’s efforts to make
                                       efforts to make such
                                                       such slanderous
                                                            slanderous claims
                                                                       claims to
                                                                              to the
                                                                                 the

      Plaintiffs’ intertidal
      Plaintiffs' intertidal land.
                             land.

29.   The August 31, 2012 survey was done by Good Deeds for the Eckrotes and at all

      relevant times
      relevant times since
                     since August
                           August 31, 2012 was
                                  31, 2012 was in
                                               in the
                                                  the Eckrotes’ possession.
                                                      Eckrotes' possession.

30.   But for the Eckrote
          for the         Defendants’ concealment
                  Eckrote Defendants' concealment of
                                                  of the
                                                     the unrecorded
                                                         unrecorded August 31, 2012

                                    with the
      survey, the Eckrotes and NAF, with the Eckrotes’ assistance, would not have
                                             Eckrotes' assistance,

                                                                        in the
      been able to falsely claim that they had title, right or interest in the Plaintiffs'
                                                                               Plaintiffs’

                                    “color of title"
      intertidal land, based on the "color    title” in Plaintiffs' intertidal land
                                                        Plaintiffs’ intertidal land created
                                                                                    created by
                                                                                            by

      the erroneous legal description in the October 15, 2012 deed.

31.   The Eckrote Defendants have a significant pecuniary interest is both slandering

      the Plaintiffs'
      the Plaintiffs’ title
                      title and
                            and in
                                in aiding NAF in its own slander of the Plaintiffs'
                                                                        Plaintiffs’ title,

      because, pursuant to the Easement Agreement that the Eckrotes signed with NAF

      on September 18, 2018, the Eckrotes will be paid a significant, but undisclosed

      sum for an easement
          for an          across the
                 easement across the Eckrotes’ property by NAF if NAF obtains all of
                                     Eckrotes' property

      the permits and leases it seeks from various local, State and federal administrative

      agencies,. (See, Exhibit D attached hereto and incorporated herein).

32.   The Eckrotes also have a contractual right in that Easement Agreement to obtain

      certain improvements by NAF to their property at 282 Northport Avenue, Belfast,

      Maine, of an unspecified value, if this Easement Agreement option is exercised

      by NAF, and to indemnification by NAF for their losses in third-party litigation,

                attorneys’ fees. (Exhibit D, Section 5(c)).
      including attorneys'




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33.   At the time that NAF and the Eckrote Defendants entered into the Easement

      Agreement on September 18, 2018, the Eckrote Defendants were in possession of

      two surveys that verified that the Eckrotes’
                                         Eckrotes' waterside boundary was along the

      high water mark of their property and that the Eckrotes had no title, right or

      interest in the intertidal land on which their property fronts.

34.   The second survey, dated April 2, 2018 by Good Deeds, put the Eckrote

      Defendants on notice no later than April 2, 2018, for the second time that they

      (the Eckrotes) had no legal authority to grant NAF an easement to place its three

      industrial pipelines
      industrial pipelines in
                           in the
                              the intertidal
                                  intertidal land on which
                                             land on which the
                                                           the Eckrotes’ lot fronts.
                                                               Eckrotes' lot fronts. (See,

      Exhibit E attached hereto and incorporated herein).

35.   Specifically, the April 2, 2018 Good Deeds survey specifically points out the

      inconsistency between the Eckrotes’ deed and
                                Eckrotes' deed and the
                                                   the prior
                                                       prior deeds
                                                             deeds in
                                                                   in uppercase
                                                                      uppercase type,

      in the
      in the center
             center of
                    of the
                       the survey
                           survey document near the
                                  document near the waterside
                                                    waterside boundary
                                                              boundary of
                                                                       of the
                                                                          the Eckrotes’
                                                                              Eckrotes'

      lot as follows:

             SHADED AREA DEPICTS LANDS LOCATED BELOW THE
             HIGH TIDE LINE. THE DEED FROM THE ESTATE OF
             PHYLLIS J. POOR TO RICHARD AND JANET ECKROTE
             DATED OCTOBER 15, 2012 AND RECORDED IN BOOK 3697.
             PAGE 5 CONTAINS THE LANGUAGE. "...THENCE
             GENERALLY      SOUTHWESTERLY     ALONG     SAID
             (PENOBSCOT) BAY A DISTANCE OF FOUR HUNDRED
                          (425) FEET....”
             TWENTY-FIVE (425)  FEET...."
             THE PREVIOUS DEED FROM WILLIAM 0.O. AND PHYLLIS
             J. POOR TO PHYLLIS J. POOR DATED JULY 1, 1991,
             RECORDED IN BOOK 1228, PAGE 346 CONTAINS THE
             LANGUAGE,
             LANGUAGE,     “....THENCE
                           "....THENCE    EASTERLY
                                          EASTERLY          AND
                                                            AND
             NORTHEASTERLY ALONG HIGH-WATER MARK OF
             PENOBSCOT
             PENOBSCOT BAY FOUR HUNDRED
                       BAY FOUR   HUNDRED TEN (410) FEET....”
                                          TEN (410) FEET...."
             I SUGGEST A LEGAL OPINION OF THE ABILITY OF THE
             ESTATE OF PHYLLIS J. POOR TO GRANT AN EASEMENT


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                                  MARK.
             BELOW THE HIGH WATER MARK.
      (Exhibit E).

36.   While the above referenced Easement Agreement between NAF and the Eckrotes

      by its terms does not grant NAF an easement below the high water mark of the

      Eckrote Defendants’ lot,
      Eckrote Defendants'      but terminates
                          lot, but terminates according to its own language at the high

      water mark (See, Exhibit A diagram of the boundaries of the easement area

      attached to Exhibit D), the Eckrotes have now joined NAF and taken the position

      that the Easement Agreement and their false claim of ownership to the intertidal

      land does in fact give them (the Eckrotes) the right to grant NAF access over the

      Plaintiffs’ intertidal
      Plaintiffs' intertidal land.
                             land.

37.   The
      The Eckrotes, the Eckrotes’
          Eckrotes, the           surveyor, the
                        Eckrotes' surveyor, the Eckrotes’ attorney(s), NAF,
                                                Eckrotes' attorney(s), NAF, and
                                                                            and NAF's
                                                                                NAF’s

      agents (including their surveyors, title searchers and counsel) all knew or should

      have known, no later than April 2, 2018, that the Plaintiffs were the fee simple

      owners of
      owners of the
                the intertidal
                    intertidal land
                               land on
                                    on which
                                       which the
                                             the Eckrotes’
                                                 Eckrotes' lot
                                                           lot fronts.
                                                               fronts. However, despite

      such knowledge, the Eckrotes have continued to publish false statements

      slandering the
      slandering the Plaintiffs'
                     Plaintiffs’ title
                                 title for their own
                                       for their own pecuniary
                                                     pecuniary benefit.
                                                               benefit.

38.   On September 9, 2019, the Eckrotes stated publicly in the Waldo County Superior

      Court, in Mabee, et al. v. Nordic Aquafarms, Inc. and Janet and Richard Eckrote,

      et al. Case No. RE-2019-18 (Belfast Litigation) that they indeed claim to own the

      intertidal land based upon their previously recorded erroneous deed and the prior

      recorded deeds. This September 9, 2019 publication and filing by the Eckrotes

      constitutes aa direct
      constitutes    direct slander
                            slander by
                                    by the
                                       the Eckrotes of Plaintiffs'
                                           Eckrotes of Plaintiffs’ title.
                                                                   title.



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39.   The Eckrotes slanderous claim of ownership to the intertidal land fronting their

                                        recorded deeds
      lot is demonstrably false, as all recorded deeds in
                                                       in the
                                                          the Eckrotes'
                                                              Eckrotes’ chain
                                                                        chain of
                                                                              of title
                                                                                 title back
                                                                                       back

      to 1946, including the October 15, 2012 deed as clarified by the August 31, 2012

      Good Deeds survey, state that the Eckrotes own only to the high-water mark of

      their lot fronting on the
                fronting on the Plaintiffs'
                                Plaintiffs’ intertidal
                                            intertidal land.
                                                       land. (Exhibits C-1 through C-4).

40.   At the time that the Eckrote Defendants published their false claim on September

      9, 2019 that the intertidal land on which their lot fronts was never severed from

      the upland lot, the Eckrote Defendants and their agents knew based on the

      information previously provided to them by Good Deeds surveyors and the

                           including the
      Plaintiffs’ counsel, including
      Plaintiffs'                    the publicly
                                         publicly recorded
                                                  recorded deeds
                                                           deeds in
                                                                 in the
                                                                    the Eckrotes’
                                                                        Eckrotes' chain
                                                                                  chain

      of title (Exhibits C-1 to C-3) that their claim was demonstrably false.

41.   Having previously received information from both Good Deeds and the Plaintiffs

      that their claim of title to the intertidal land of the
                                                  land of the Plaintiffs'
                                                              Plaintiffs’ was false, the above

      publication on September 9, 2019 was made intentionally and maliciously, with a

      willful, wanton and reckless disregard for the truth, and with the knowledge,

      consent and/or acquiescence of the Eckrote Defendants.

42.   The recording of the deed in October of 2012 without recording the clarifying and

      superseding survey incorporated by reference in that deed, along with the

      statement by the Eckrotes’
                       Eckrotes' counsel in formal pleadings filed in the Belfast

      Litigation, constitute one or more additional publications by the Eckrotes of a

      wrongful and
      wrongful and slanderous
                   slanderous claim
                              claim to
                                    to the
                                       the Plaintiffs'
                                           Plaintiffs’ intertidal
                                                       intertidal property.
                                                                  property.




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43.   Despite requests to reform their deed to correct the erroneous legal description,

                                Plaintiffs’ intertidal land, and record the August 31,
      renounce any claim to the Plaintiffs'

      2012 Good Deeds survey in the Waldo County Registry of Deeds, the Eckrotes

                                                                               title.
                                                                   Plaintiffs’ title.
      have refused to take any actions to cure their slandering of Plaintiffs'

44.   As aa direct
      As    direct and
                   and proximate
                       proximate result
                                 result of
                                        of the
                                           the Defendants'
                                               Defendants’ conduct,
                                                           conduct, the
                                                                    the Plaintiffs have

                           special damages
      incurred general and special damages in
                                           in that
                                              that the
                                                   the Plaintiffs'
                                                       Plaintiffs’ property, valued by

      NAF and the Eckrotes at $700,000.00 (not including the value of the intertidal

      land) is now unsellable. In addition, it has been necessary for the Plaintiffs to

      incur the expense of litigation, including engaging legal counsel, to try and clear

      title to their property from the Eckrotes’
                                       Eckrotes' false and slanderous claims for

      themselves and NAF. Such damages are set forth in the First Claim for Relief.

                                  FIRST CLAIM FOR RELIEF

45.                                           – 44 into this claim for relief as though
      The Plaintiffs incorporate Paragraphs 1 —

      more fully set forth herein.

46.   The Defendants Eckrote have slandered the Plaintiffs'
                                                Plaintiffs’ title to their property by:

      (1)    Publishing false statements as set forth above contained in the 2012 Deed,

             their recent court pleadings of September 9, 2019 along with the

             Defendants aiding
             Defendants aiding and
                               and abetting
                                   abetting NAF's
                                            NAF’s slander
                                                  slander to
                                                          to the
                                                             the Plaintiffs'
                                                                 Plaintiffs’ title
                                                                             title as

             alleged previously in this Complaint, all of which are incorporated herein

             by this reference;

      (2)    These above statements by the Defendants that they own the Plaintiffs'
                                                                        Plaintiffs’

             intertidal land were and are false;


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      (3)    The false statements were made with malice, fraud and/or made with a

             willful, wanton and reckless disregard of their falsity as the Defendants

             and their counsel had been put on detailed notice, by surveyors retained by

             the Eckrotes in 2012 and NAF in 2018, as well as the deeds referenced

                                           of the
             herein as Exhibits C-1 to C-3 of the Plaintiffs'
                                                  Plaintiffs’ ownership,
                                                              ownership, as
                                                                         as well
                                                                            well as
                                                                                 as the
                                                                                    the

             defects in the Eckrotes' claim of
                            Eckrotes’ claim of ownership
                                               ownership of the intertidal land on which

             the Eckrotes’
             the Eckrotes' lot
                           lot fronts;
                               fronts; and

      (4)    These statements have caused Plaintiffs to incur substantial special

             damages in the form of litigation costs relating to defending and enforcing

             their property rights in local, State and federal permit proceedings, and

             filing a Declaratory Judgment action to quiet title in Maine State court

             (including court
             (including court costs,
                              costs, attorneys'
                                     attorneys’ fees,
                                                fees, expert witness fees’
                                                      expert witness       and discovery
                                                                     fees' and discovery

             and copying costs), as well as loss of value and marketability of the

             Plaintiffs’ real
             Plaintiffs' real property
                              property valued
                                       valued at
                                              at aa minimum
                                                    minimum of
                                                            of $700,000
                                                               $700,000 up
                                                                        up to
                                                                           to $1.2
                                                                              $1.2

             million.

55.              statements were
      Such false statements were published
                                 published by
                                           by Defendants,
                                              Defendants, Defendants'
                                                          Defendants’ agents
                                                                      agents

      (including counsel), with malice and with a reckless disregard of the falsity of

      those statements and the adverse impact of those statements on the value and

      marketability of
      marketability of Plaintiffs'
                       Plaintiffs’ real
                                   real property.
                                        property.

57.   Plaintiffs have retained attorneys with respect to the above proceedings and seek

      their legal fees and expenses incurred in those matters, all of which were incurred

      in attempting
      in attempting to
                    to protect
                       protect the
                               the Plaintiffs'
                                   Plaintiffs’ ownership
                                               ownership of
                                                         of their
                                                            their land.
                                                                  land. Plaintiffs seek


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       their court costs and litigation expenses, including expert witness fees and

       attorneys’ fees incurred in those matters in this case as additional special damages
       attorneys'

       relating to the slander of their title.

58.    The actions of the Defendants were intentional and carried out with malice, fraud

       and/or a wilfull, wanton and reckless disregard of their truth or falsity, thereby

       entitling the Plaintiffs to special and exemplary damages.

       WHEREFORE, the Plaintiffs pray that this Court grant judgment in their favor

and against the Defendants, and each of them, jointly and severally, for all general,

special and exemplary damages that the Plaintiffs have suffered, together with their

attorneys’ fees,
attorneys' fees, expert witness fees, court costs, all general and special damages, interest

according to law and for such other and further relief as the Court deems just and proper.

                      PLAINTIFFS REQUEST THAT
            ALL CLAIMS HEREIN BE TRIED BY A JURY OF SIX (6).

                     th
       Dated this 19 th day of September 2019.


                                                      Respectfully submitted,

                                                      /s/ Dana F. Strout
                                                      __________________________
                                                       Dana F. Strout, Esq.#8239
                                                       Dana F. Strout, P.A.
                                                       270 West Street, Ste. B
                                                       Rockport, ME. 04856
                                                       207-236-0200

                                                                 And

                                                      /s/ Kimberly J. Ervin Tucker
                                                      ____________________________
                                                      Kimberly J. Ervin Tucker, #6969
                                                      48 Harbour Pointe Drive
                                                      Lincolnville, Maine 04849

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                                          P: 202-841-5439
                                          k.ervintucker@gmail.com
                                          Attorney for Plaintiffs




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